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 5                            UNITED STATES DISTRICT COURT
                        for the WESTERN DISTRICT of WASHINGTON
 6

 7    UNITED STATES OF AMERICA,                        )
                                                       )
 8                                Plaintiff,           )
 9                          vs.                        )
                                                       )                CR04-128 MJP
10
      DERRICK CATLETT,                                 )
11                                                     )
                                  Defendant.           )             MINUTE ORDER
12
            The following Minute Order is made at the direction of the Court, the Honorable
13
     James P. Donohue, United States Magistrate Judge:
14

15
            The Court has been advised the probation officer assigned to this matter is not available
16
     for the February 24, 2006, hearing date - counsel have requested a continuation of the hearing
17
     date. The request is GRANTED.
18
            The Evidentiary Hearing on Revocation is hereby continued to Monday, February 27,
19
     2006, at 10:30am. The hearing will be held in Courtroom 12B, U.S. Courthouse, Seattle,
20
     Washington.
21

22

23                                 Dated this 16th day of February , 2006
24

25                                 /S/ PETER H. VOELKER
                                    Deputy Clerk
26   MINUTE ORDER
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23                       Dated this 16th day of February , 2006
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25                       /S/ PETER H. VOELKER
                          Deputy Clerk
26   MINUTE ORDER
